 Case 1:05-cr-01849-JCH        Document 1391-1        Filed 08/27/08     Page 1 of 1




                                Attachment A
The following documents have not been provided in the course of discovery in United
States v. Dana Jarvis, et al., Cr. No. 05-1849 JH. Alternatively the government has not
provided the authority under which one or more of the below exhibits have been withheld
from disclosure to the Defendants:

              Exhibit 1
              Exhibit 4
              Exhibit 5
              Exhibit 6
              Exhibit 7
              Exhibit 8
              Exhibit 12
              Exhibit 14
              Exhibit 16
              Exhibit 20
              Exhibit 21
              Exhibit 22
              Exhibit 23
              Exhibit 27
              Exhibit 31
              Exhibit 32
              Exhibit 35
              Exhibit 42
              Exhibit 60
              Exhibit 61
              Exhibit 62
              Exhibit 66
              Exhibit 73
              Exhibit 74
              Exhibit 91
              Exhibit 92
              Exhibit 93
              Exhibit 98 or higher
